      Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 1 of 26 PageID #:1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LAKEETA WOODS,                  )
                                )
          Plaintiff,            )               Case No.: 20-cv-
                                )
          -vs-                  )               Judge:
                                )
TARGET CORPORATION and,         )               Magistrate Judge:
PRESTIGE MAINTENANCE USA, LTD., )
                                )
          Defendants.           )

                                 NOTICE OF REMOVAL

TO:    The Honorable Judges of the              David Vander Ploeg
       United States District Court for         Hanna/Vander Ploeg, LLC
       Northern District of Illinois            20 N. Clark Street
       Eastern Division                         Suite 3100
       219 S. Dearborn Street                   Chicago, IL 60602
       Chicago, IL 60604

       Pursuant to 28 U.S.C. § 1441, et seq., and 28 U.S.C. § 1332, Defendant, TARGET

CORPORATION, by and through one of its attorneys, Robert M. Burke of JOHNSON &

BELL, LTD., hereby gives notice of the removal of the above captioned action from the

Circuit Court of Cook County, Cause No. 2021-L-004297, to the United States District

Court, Northern District of Illinois, Eastern Division, and in support thereof, states the

following:

       1.    This action is being removed to federal court based upon the diversity of

citizenship of all parties to this cause, and the existence of the requisite amount in

controversy, as is also more fully set forth below.

       2.    On April 26, 2021, Plaintiff, Lakeeta Woods, initiated the above captioned

lawsuit by the filing of a Complaint entitled Lakeeta Woods v. Target Corporation, and

Prestige Maintenance USA Ltd., Docket No. 2021-L-004297, in the Circuit Court of Cook
     Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 2 of 26 PageID #:2



County, Illinois. A copy of the Complaint at Law is attached hereto as Exhibit “A” and

incorporated herein by reference.

        3.    On or about April 26, 2021, Plaintiff caused a Summons to be issued for

service upon the registered agent of Target Corporation. A copy of said Summons is

attached hereto as Exhibit “B” and incorporated herein by reference.

        3.    Service was obtained on Target Corporation’s registered agent on May 19,

2021.

        4.    The United States District Court for the Northern District of Illinois,

Eastern Division, has jurisdiction over the above captioned lawsuit pursuant to 28

U.S.C. § 1332 and 28 U.S.C. § 1441 for the following reasons:

        (a)   Plaintiff, Lakeeta Woods, at the time the lawsuit was commenced
              and at all relevant times, has been a resident and citizen of the State
              of Illinois;

        (b)   Defendant, Target Corporation, at the time the lawsuit was
              commenced and at all relevant times, has been a Minnesota
              corporation with its principal place of business in Minnesota;
              therefore, for diversity of citizenship purposes, it is a citizen of the
              State of Minnesota;

        (c)   Defendant, Prestige Maintenance USA, Ltd., at the time the lawsuit
              was commenced and at all relevant times, has been a Texas
              corporation with its principal place of business in Texas; therefore,
              for diversity of citizenship purposes, it is a citizen of the State of
              Texas;

        (d)   According to the allegations contained in Plaintiff’s Complaint
              herein, the amount of damages sought in this action by Plaintiff is
              an amount in excess of $30,000.00. (See page 6 of Exhibit “A”.)
              Plaintiff, Lakeeta Woods, claims to have incurred “legal obligations
              for hospital, medical, surgical, nursing and therapy bills, has lost
              wages…which she otherwise would have earned and acquired, has
              been caused to incur pain, suffering, disability, emotional distress,
              disfigurement, and a loss of normal life, all of which injuries and
              conditions are permanent in nature.” (Exhibit “A” at paragraph 18.)
              Such allegations that Plaintiff has sustained a permanent injury are
              sufficient to trigger the duty to remove the case. McCoy v. General
              Motors Corp., 226 F. Supp. 2d 939 (N.D. Ill. 2002); Varkalis v.
              Werner Co. & Lowe’s Home Center, No. 10-cv-3331, 2010 WL


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     Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 3 of 26 PageID #:3



             3273493 (N.D. Ill. Aug. 18, 2010), a copy of which decision is
             attached hereto as Exhibit “C”;

      (e)    Based upon the foregoing, it is Defendant’s good faith belief that
             while liability, causation, and damages will be contested, the
             amount in controversy in this action exceeds $75,000.00, exclusive
             of interest and costs;

      (f)    While it does not appear that Defendant, Prestige Maintenance USA,
             Ltd. has yet been served, consent to removal has been obtained
             from its representative;

       (g)   This Notice of Removal is being filed with the Clerk of the United
             States District Court for the Northern District of Illinois, Eastern
             Division, in timely manner. Removal is required within thirty (30)
             days of service of the Summons and Complaint on this Defendant.
             Thirty days expired on June 18, 2021; however, June 18 was a state
             and federal holiday followed by the weekend, so this Notice of
             Removal is being timely filed pursuant to Rule 6 of the Federal Rules
             of Civil Procedure;

      (h)    This action, based upon diversity of citizenship and the amount in
             controversy is, therefore, properly removable, pursuant to 28 U.S.C.
             § 1441(a).

      5.     Defendant will promptly file a copy of this Notice of Removal with the Clerk

of the Circuit Court of Cook County, Illinois.

      WHEREFORE, TARGET CORPORATION respectfully requests that this case

proceed before this Court as an action properly removed.

                                         Respectfully submitted,

                                         JOHNSON & BELL, LTD.

                                  By:    /s/ Robert M. Burke
                                         One of the Attorneys for the Defendant,
                                         Target Corporation


Robert M. Burke, #6187403
Michael J. Linneman, #6275375
JOHNSON & BELL, LTD.
33 W. Monroe St., Suite 2700
Chicago, Illinois 60603
(312) 372-0770
burker@jbltd.com
linnemanm@jbltd.com

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     Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 4 of 26 PageID #:4




                            CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2021, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF system which will send notification
of such filing to all attorneys of record.


                                       /s/Robert M. Burke
                                       Robert M. Burke, #6187403
                                       Attorneys for Defendant
                                       Target Corporation
                                       JOHNSON & BELL, LTD.
                                       33 W. Monroe St., Suite 2700
                                       Chicago, IL 60603
                                       Telephone: (312) 372-0770
                                       Fax: (312) 372-9818
                                       E-mail: burker@jbltd.com




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Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 5 of 26 PageID #:5




                   EXHIBIT A
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 6 of 26 PageID #:6




                                                                   EXHIBIT
                                                                       A
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 7 of 26 PageID #:7
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 8 of 26 PageID #:8
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 9 of 26 PageID #:9
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 10 of 26 PageID #:10
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 11 of 26 PageID #:11
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 12 of 26 PageID #:12
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 13 of 26 PageID #:13




                    EXHIBIT B
 Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 14 of 26 PageID #:14

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    05/19/2021
                                                                                                    CT Log Number 539582241
TO:         Sue Carlson
            Target Corporation
            1000 NICOLLET MALL
            MINNEAPOLIS, MN 55403-2542

RE:         Process Served in Illinois

FOR:        Target Corporation (Domestic State: MN)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  LAKEETA WOODS, Pltf. vs. TARGET CORPORATION and PRESTIGE MAINTENANCE USA
                                                  LTD., Dfts.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 2021L004297
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Chicago, IL
DATE AND HOUR OF SERVICE:                         By Process Server on 05/19/2021 at 12:18
JURISDICTION SERVED :                             Illinois
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 05/19/2021, Expected Purge Date:
                                                  05/24/2021

                                                  Image SOP

                                                  Email Notification, Non Employee Litigation Target gl.legal@target.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  208 South LaSalle Street
                                                  Suite 814
                                                  Chicago, IL 60604
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                                           EXHIBIT
                                                                                                                                    B
                                                                                                    Page 1 of 1 / VE
         Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 15 of 26 PageID #:15



                                                                0.Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                        Tue, May 18, 2021

Server Name:                 Sheriff Drop




Entity Served                TARGET CORPORATION

Agent Name                   50644871

Case Number                  2021L004297

J urisdiction                IL




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                                                          Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 16 of 26 PageID #:16
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                                           2120 - Served                2121 - Served                                                                 * 5 0 0 7 7 3 3 6 *
                                           2220 - Not Served            2221 - Not Served
                                           2320 - Served By Mail        2321 - Served By Mail
                                           2420 - Served By Publication 2421 - Served By Publication
                                            SUMMONS - ALIAS SUMMONS                                                            (06/28/18) CCG N001
                                                                                                                ,Afg
FILED DATE: 5/4/2021 3:45 PM 2021L004297




                                                                           IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                 COUNTY DEPARTMENT,LAW DIVISION


                                             LAKEETA WOODS
                                                                                         (Name all parties) Case No.             2021L004297
                                                                            V.
                                                                                                                                            PLEASE SERVE:
                                                                                                                                            Target Corporation
                                             TARGET CORPORATION,et. al.                                                                     208 South LaSalle Street, Ste. 814
                                                                                                                                            Chicago,IL 60604

                                                                                      X SUMMONS                   ALIAS SUMMONS

                                            To each Defendant:


                                            YOU ARE SUINEVIONED and required to file an answer to the complaint in this case, a copy of which is hereto attached, or otherwise
                                            file your appearance and pay the required fee within thirty (30) days after service of this Summons, not counting the day of service.
                                            To file your answer or appearance you need access to the internet. Please visit www.cookcountyclerkofcourt.org to initiate this process.
                                            Kiosks with internet access are available at all Clerk's Office locations. Please refer to the last page of this document for location
                                            information.
                                            If you fail to do so, a judgment by default may be entered against you for the relief requested in the complaint.
                                            To the Officer:
                                            This Summons must be returned by the officer or other person to whom it was given for service, with endorsement of service and fees,
                                            if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed. This Summons may not be
                                            served later than thirty (30) days after its date.

                                            E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
                                            with an e-filing service provider. Visit https://efile.illinoiscourts.goviservice-providers.htm to learn more and to select a
                                            service provider. If you need additional help or have trouble e-ftling, visit http://www.illinoiscourts.gov/FAQ/gethelp.asp.



                                                                                                                       Witness:
                                                                                                                            5/4/2021 3:45 PM IRIS Y. MARTINEZ

                                                                                                                       IRIS Y. MARTIN 4
                                                                                                                                      ._4
                                                                                                                                        7,n1 . d..0F COURT
                                           Atty. No.: 57052
                                           Atty. Name/Firm: HANNA/VANDER PLOEG,LLC.                                 Date of Service:      e
                                                                                                                                                    0
                                           Atty. For: PLAINTIFF                                                    (To be inserted by % ce n ... left with Defendant
                                                                                                                                       o
                                           Address: 20 N. Clark Street, Ste. 3100                                   or other person):  #       ..s.
                                                                                                                                         cousil,
                                           City: Chicago State: Illinois Zip: 60602
                                           Telephone:(312) 268-2026 Fax:(312) 268-7035
                                           Primary Email: dvp@hanvanlaw.com
                                           Secondary Email: arv@hanvanlaw.com




                                                      IRIS Y. M.ARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                                               Page 1 of 2
                                                     Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 17 of 26 PageID #:17
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                                                     CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS


                                           X   Richard J Daley Center                     ,C          Domestic Relations Division
FILED DATE: 5/4/2021 3:45 PM 2021L004297




                                               50 W Washington                                        Richard J Daley Center
                                               Chicago, IL 60602                                      50 W Washington, Rm 802
                                           O   District 2 - Skokie                                    Chicago, IL 60602
                                               5600 Old Orchard Rd                                    Hours: 8:30 am - 4:30 pm
                                               Skokie, IL 60077                             C         Civil Appeals
                                           O   District 3 - Rolling Meadows                           Richard J Daley Center
                                               2121 Euclid                                            50 W Washington, Rm 801
                                               Rolling Meadows,IL 60008                               Chicago, IL 60602
                                                                                                      Hours: 8:30 am - 4:30 pm
                                           O   District 4 - Maywood
                                               1500 Maybrook Ave                            o         Criminal Department
                                               Maywood,IL 60153                                       Richard J Daley Center
                                                                                                      50 W Washington, Rm 1006
                                           O   District 5 - Bridgeview
                                                                                                      Chicago, IL 60602
                                               10220 S 76th Ave
                                                                                                      Hours: 8:30 am - 4:30 pm
                                               Bridgeview, IL 60455
                                                                                            C         County Division
                                           O   District 6 - Markham                                   Richard J Daley Center
                                               16501 S Kedzie Pkwy
                                                                                                      50 W Washington, Rm 1202
                                               Markham,IL 60428                                       Chicago, IL 60602
                                           o   Domestic Violence Court                                Hours: 8:30 am - 4:30 pm
                                               555 W Harrison                               C         Probate Division
                                               Chicago, IL 60607                                      Richard J Daley Center
                                           O   Juvenile Center Building                               50 W Washington, Rm 1202
                                               2245W Ogden Ave, Rm 13                                 Chicago, IL 60602
                                               Chicago, IL 60602                                      Hours: 8:30 am - 4:30 pm
                                           O   Criminal Court Building                      C         Law Division
                                               2650 S California Ave, Rm 526                          Richard J Daley Center
                                               Chicago, IL 60608                                      50 W Washington, Rm 801
                                                                                                      Chicago, IL 60602
                                           Daley Center Divisions/Departments                         Hours: 8:30 am - 4:30 pm

                                           O   Civil Division                               C         Traffic Division
                                               Richard J Daley Center                                 Richard J Daley Center
                                               50 W Washington, Rm 601                                50 W Washington,Lower Level
                                               Chicago, IL 60602                                      Chicago, IL 60602
                                               Hours: 8:30 am - 4:30 pm                               Hours: 8:30 am - 4:30 pm
                                           U   Chancery Division
                                               Richard J Daley Center
                                               50 W Washington, Rm 802
                                               Chicago, IL 60602
                                               Hours: 8:30 am - 4:30 pm


                                                  IRIS Y. MARTINEZ,CLERK OF THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                        Page 2 of 2
                                                          Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 18 of 26 PageID #:18
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                                           2120 - Served                2121 - Served                                                                   *    5    0    0     7    7    3    3     6    *
                                           2220 - Not Served            2221 - Not Served
                                           2320 - Served By Mail        2321 - Served By Mail
                                           2420 - Served By Publication 2421 - Served By Publication
                                            SUMMONS - ALIAS SUMMONS                                                              (06/28/18) CCG N001
FILED DATE: 5/4/2021 3:45 PM 2021L004297




                                                                            IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                  COUNTY DEPARTMENT,LAW DIVISION


                                             LAKEETA WOODS
                                                                                          (Nat= all parties) Case No.              2021L004297
                                                                             V.
                                                                                                                                               PLEASE SERVE:
                                                                                                                                               Target Corporation
                                             TARGET CORPORATION,et. al.                                                                        208 South LaSalle Street, Ste. 814
                                                                                                                                               Chicago,IL 60604

                                                                                       X SUMMONS 0 ALIAS SUMMONS
                                            To each Defendant:


                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto attached; or otherwise
                                            file your appearance and pay the required fee. within thirty (30) days after service of this Summons, not counting the day of service
                                            To file your answer or appearance you need access to the internet. Please visit w,,vwcookcoun,•clerlcofcourt.orp- to initiate this process:
                                            Kiosks with internet access are available at all Clerk's Office locations. Please refer to the last page of this document for location
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                                            E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
                                            with an e-filing service provider. Visit https://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
                                            service provider. If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/gethelp.asp.



                                                                                                                      Witness:
                                                                                                                           5/4/2021 3:45 PM IRIS Y. MARTINEZ

                                                                                                                      IRIS Y. MARTIN                         OF COURT
                                           Atty. No.: 57052
                                           Atty. Name/Firm: HANNA/VANDER PLOEG,LLC.                                   Date of Service:
                                           Atty. For: PLAINTIFF                                                      (To be inserted by                          left with Defendant
                                           Address: 20 N. Clark Street, Ste. 3100                                     or other person):
                                           City: Chicago State: Illinois Zip: 60602
                                           Telephone:(312) 268-2026 Fax:(312) 268-7035
                                           Primary Email: dvp@hanvanlaw.com
                                           Secondary Email: arv@hanvanlaw.com




                                                      IRIS Y. MARTINEZ,CLERK OF THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                                                Page 1 of 2
                                                      Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 19 of 26 PageID #:19
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                                                      CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS


                                           X    Richard J Daley Center                       C         Domestic Relations Division
FILED DATE: 5/4/2021 3:45 PM 2021L004297




                                                50 W Washington                                        Richard J Daley Center
                                                Chicago, IL 60602                                      50 W Washington, Rm 802
                                           o    District 2 - Skokie                                    Chicago, IL 60602
                                                5600 Old Orchard Rd                                    Hours: 8:30 am - 4:30 pm
                                                Skokie, IL 60077                             C         Civil Appeals
                                           O    District 3 - Rolling Meadows                           Richard J Daley Center
                                                2121 Euclid                                            50 W Washington, Rm 801
                                                Rolling Meadows,IL 60008                               Chicago, IL 60602
                                                                                                       Hours: 8:30 am - 4:30 pm
                                           O    District 4 - Maywood
                                                1500 Maybrook Ave                            C         Criminal Department
                                                Maywood,IL 60153                                       Richard J Daley Center
                                                                                                       50 W Washington, Rin 1006
                                           O    District 5 - Bridgeview
                                                                                                       Chicago,IL 60602
                                                10220 S 76th Ave
                                                                                                       Hours: 8:30 am - 4:30 pm
                                                Bridgeview, IL 60455
                                                                                             C         County Division
                                           O    District 6 - Markham
                                                                                                       Richard J Daley Center
                                                16501 S Kedzie Pkwy
                                                                                                       50 W Washington, Rm 1202
                                                Markham,IL 60428
                                                                                                       Chicago, IL 60602
                                           o    Domestic Violence Court                                Hours: 8:30 am - 4:30 pm
                                                555 W Harrison                               o         Probate Division
                                                Chicago, IL 60607                                      Richard J Daley Center
                                           O    Juvenile Center Building                               50 W Washington, Rm 1202
                                                2245 W Ogden Ave, Rm 13                                Chicago, IL 60602
                                                Chicago, IL 60602                                      Hours: 8:30 am - 4:30 pm
                                           O    Criminal Court Building                      C         Law Division
                                                2650 S California Ave, Rm 526                          Richard J Daley Center
                                                Chicago, IL 60608                                      50 W Washington, Rm 801
                                                                                                       Chicago, IL 60602
                                           Daley Center Divisions/Departments                          Hours: 8:30 am - 4:30 pm
                                           0.   Civil Division                               C         Traffic Division
                                                Richard J Daley Center                                 Richard J Daley Center
                                                50 W Washington, Rm 601                                50 W Washington, Lower Level
                                                Chicago, IL 60602                                      Chicago, IL 60602
                                                Hours: 8:30 am - 4:30 pm                               Hours: 8:30 am - 4:30 pm
                                           o    Chancery Division
                                                Richard J Daley Center
                                                50 W Washington, Rm 802
                                                Chicago, IL 60602
                                                Hours: 8:30 am - 4:30 pm


                                                  IRIS Y. MARTINEZ,CLERK OF THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                         Page 2 of 2
                                                          Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 20 of 26 PageID #:20

                                            Civil Action Cover Sheet - Case Initiation                                        (12/01/20) CCL 05201111 11111 1101 11111 11111 11111 11111 0111 1111   liii
                                                                                                                                                                5 0 0 7 7 3             3 6     *
                                                           IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                 COUNTY DEPARTMENT,LAW DIVISION
                                            LAKEETA WOODS
FILED DATE: 4/26/2021 4:17 PM 2021L004297




                                                                                   V.

                                                                                                                                             2021L004297
                                            TARGET CORPORAITON and PRESTIGE MAINTENANCE USA, LTD.                                     No.


                                               CIVIL ACTION COVER SHEET - CASE INITIATION
                                            A Civil Action Cover Sheet - Case Initiation shall be filed with the                                   FILED
                                            complaint in all civil actions. The information contained herein                                  4/26/2021 4:17 PM
                                            is for administrative purposes only and cannot be introduced into
                                            evidence. Please check the box in front of the appropriate case                                  IRIS Y. MARTINEZ
                                            type which best characterizes your action. Only one (1) case type                                 CIRCUIT CLERK
                                            may be checked with this cover sheet.
                                                                                                                                            COOK COUNTY, IL
                                            Jury Demand 0 Yes       la   No
                                                                                                                                                 13094981
                                            PERSONAL INJURY/WRONGFUL DEATH
                                            CASE TYPES:                                                                                             (FILE STAMP)
                                              0 027 Motor Vehicle                                                   COMMERCIAL LITIGATION
                                              0 040 Medical Malpractice
                                                                                                                    CASE TYPES:
                                              0 047 Asbestos
                                                                                                                      0002 Breach of Contract
                                              0 048 Dram Shop
                                                                                                                      0 070 Professional Malpractice
                                              0 049 Product Liability
                                                                                                                             (other than legal or medical)
                                              0 051 Construction Injuries
                                                                                                                      0 071 Fraud (other than legal or medical)
                                                     (including Structural Work Act, Road
                                                                                                                      0 072 Consumer Fraud
                                                     Construction Injuries Act and negligence)
                                                                                                                      0 073 Breach of Warranty
                                              0 052 Railroad/FELA
                                                                                                                      0 074 Statutory Action
                                              0 053 Pediatric Lead Exposure
                                                                                                                             (Please specify below.")
                                              0 061 Other Personal Injury/Wrongful Death
                                                                                                                      0 075 Other Commercial Litigation
                                                 063 Intentional Tort
                                                                                                                             (Please specify below.")
                                              0 064 Miscellaneous Statutory Action
                                                                                                                      0 076 Retaliatory Discharge
                                                    (Please Specify Below")
                                                i
                                                t065 Premises Liability
                                                                                                                    OTHER ACTIONS
                                                 078 Fen-phen/Redux Litigation
                                              0 199 Silicone Implant                                                CASE TYPES:
                                                                                                                      0 062 Property Damage
                                            TAX & MISCELLANEOUS REMEDIES                                              0 066 Legal Malpractice
                                            CASE TYPES:                                                               0077 Libel/Slander
                                              0 007 Confessions ofJudgment                                            0079 Petition for Qualified Orders
                                              0 008 Replevin                                                          0084 Petition to Issue Subpoena
                                              0 009 Tax                                                               0 100 Petition for Discovery
                                              0 015 Condemnation                                                    **

                                              0 017 Detinue
                                              0 029 Unemployment Compensation
                                              0 031 Foreign Transcript                                              Primary Email:
                                              0 036 Administrative Review Action
                                                 085 Petition to Register Foreign Judgment                          Secondary Email:
                                              0 099 All Other Extraordinary Remedies
                                            By, David Vander Ploeg, HANNA/VANDER PLOEG, LLC.                        Tertiary Email:
                                                   (Attorney)                        (Pro Se)

                                            Pro Sc Only: 0 I have read and agree to the terms of the Clerk's0 ice Electronic Notice Policy and choose to opt in to electronic notice
                                            form the Clerk's Office for this case at this email address:

                                                       IRIS Y. MARTINEZ,CLERK OF THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                                                                                                               Page 1 of 1
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 21 of 26 PageID #:21




                    EXHIBIT C
                    Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 22 of 26 PageID #:22
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Varkalis v. Werner Co.
United States District Court, N.D. Illinois, Eastern Division. • August 18,2010 • Not Reported in F.Supp.2d • 2010 WL 3273493   (Approx. 4 p...



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     Memorandum And Order
                                                                        This decision was reviewed by West editorial staff and not
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                                                                                        assigned editorial enhancements.
    Footnotes
                                                                                               United States District Court,
                                                                                                            N.D. Illinois,
                                                                                                      Eastern Division.


                                                                     Mary VARKALIS, as Independent Administrator
                                                                       of the Estate of Michael Varkalis, Plaintiff,
                                                                                            v.
                                                                     WERNER CO. & Lowe's Home Center Inc., d/b/a
                                                                                  Lowe's, Defendants.

                                                                                                       No. 10 C 03331.
                                                                                                           Aug. 18,2010.




                                                                    Attorneys and Law Firms
                                                                     Martin A. Dolan, Dolan Law Offices, P.C., Chicago, IL, for Plaintiff.

                                                                     Michael Joseph Meyer, Eric Franklin Long, Stephen Sloan Weiss,
                                                                    Tribler Orpett and Meyer, P.C., Chicago, IL, for Defendants.


                                                                                             MEMORANDUM AND ORDER

                                                                     BLANCHE M. MANNING, District Judge.

                                                                    pT The defendants removed the instant lawsuit from the Circuit
                                                                     Court of Cook County and the plaintiff has filed a motion to
                                                                     remand. For the reasons stated below, the motion is granted.
                                                                     I. FACTS                                                                       EXHIBIT
                                                                     Defendant Werner Co. (“Werner”) allegedly manufactured and
                                                                    designed a nine-foot fiberglass stepladder sold by Defendant
                                                                                                                                                            C
                                                                     Lowe's Home Centers Inc. (“Lowe's”). On or around December
                                                                    21,2008, Michael Varkalis was using the stepladder in his garage
                                                                    when it buckled and Michael fell and struck his head on the
                                                                                                                                                       Back to top
                                                                    garage floor. He suffered irreversible brain damage and died on
                                                                    August 18,2009.
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 23 of 26 PageID #:23
                           II. PROCEDURAL HISTORY
                           On March 15,2010, Mary Varkalis, as independent administrator
                           of Michael Varkalis's estate, filed a seven-count complaint in the
                           Circuit Court of Cook County, Illinois, alleging product liability,
                           negligence, breach of warranty, and a Survival Act claim.
                           Specifically, the plaintiff alleged that “[w]hile Mr. Varkalis was
                           on the ladder, it buckled, causing him to fall with great force and
                           violence to the ground below.” Comp, at *16. The complaint
                           further alleged that “as a direct and proximate result of the
                           ladder bucking, Michael Varkalis was severely injured,
                           sustaining irreversible brain damage which led to his death on
                           August 18,2009.” Id. at *17. The defendants, Werner and Lowe's,
                           were properly served on March 22,2010, and March 24,2010,
                           respectively.

                           On April 19,2010, the defendants filed answers and affirmative
                           defenses to the plaintiff's complaint. In addition, they filed a
                           motion to dismiss counts III and VI on the ground that the
                           plaintiff should have filed separate causes of action for breach
                           of express and implied warranties given that separate recovery
                           was available under each. In response to the motion to dismiss,
                           on May 19,2010, the plaintiff filed an amended complaint
                           removing the word “express” from Counts III and VI, and
                           proceeding only with the breach of implied warranty cause of
                           action against each of the defendants.

                           On June 1,2010, the defendants filed a request to admit facts
                           whereby they requested that the plaintiff admit that she sought
                           to recover from the defendants an amount in excess of $75,000,
                           exclusive of interests and costs. One day later, on June 2,2010,
                           the defendants removed the case to this court pursuant to the
                           court's diversity jurisdiction. The plaintiff then filed the instant
                           motion to remand on the ground that the removal was
                           untimely.
                           III. ANALYSIS
                             A. Standard for Removal
                           28 U.S.C. § 1446(b) states that a notice of removal must “be filed
                           within thirty days after the receipt by the defendant, through
                           service or otherwise, of a copy of the initial pleadings setting
                           forth the claim for relief upon which such action or proceedings
                           is based.” 28 U.S.C. § 1446(b). Any procedural defect in a case
                           being removed to federal court must be remanded to the state
                           court. Disherv. Citigroup GlobalMkts., Inc., 487 F.Supp.2d 1009,
                           1015 (S.D.111.2007) (“where there is doubt as to whether the
                           requirements have been satisfied, the case should be
                           remanded”) (internal citations omitted). Under 28 U.S.C. §
                           1446(b), a defendant may file a notice of removal within thirty
                                                                                                  Back to top
                           days from receipt of an amended pleading. See, e.g., Benson v. SI
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 24 of 26 PageID #:24
                           Handling Systems, Inc., 188 F.3d 780,782 (7th Cir.1999) [citing 28
                           U.S.C. § 1446(b)). However, this general rule applies only when
                           the original complaint is not removable. Mortgage Elec.
                           Registration Sys. v. Rothman, No. 04 C 5340,2005 WL 497794, at
                           *5 (N.D.Ill. Feb.28,2005).
                             B. Amount in Controversy
                           pi" The plaintiff contends that removal was improper as a
                           matter of law because the defendants did not file the notice of
                           removal within thirty days of service of the original complaint,
                           which was April 21,2010. Instead, the defendants filed their
                           notice of removal on June 2,2010, and maintain that it was
                           timely regardless of the fact that the filing date was over sixty
                           days from notice of the original complaint. According to what
                           the court understands the defendants to be arguing, it was only
                           when they received the amended complaint that they became
                           aware of the possibility for removal because the amount in
                           controversy alleged in the original complaint was not sufficient
                           to trigger diversity jurisdiction.1

                           Diversity jurisdiction exists where the parties are diverse and
                           where the amount in controversy exceeds $75,000, not
                           including interest and costs. See 28 U.S.C. § 1332(a). There is no
                           dispute that the parties are diverse; rather, the defendants
                           argue that the plaintiff did not adequately state an amount in
                           controversy that would have putthe defendants on notice of
                           the possibility for removal to federal court. According to the
                           defendants, the original and amended complaint were
                           ambiguous because they sought only “a sum in excess of the
                           minimal jurisdictional limits of the Law Division of the Circuit
                           Court of Cook County,” which amounts to $50,000.

                           Generally, when a complaint does not express the ad damnum
                           in excess of $75,000, the defendant may file its removal notice
                           within thirty days from the plaintiff's admission that they are
                           seeking more than $75,000. Height v. Southwest Airlines, Inc., No.
                           02 C 2854,2002 WL 1759800,------2-3 (N.D.Ill. Jul.29,2002);
                           Abdishi v. Phillip Morris, Inc., No. 98 C1310,1998 WL 311991, at
                           *1-3 (N.D.Ill. June 4,1998). In this case, on June 1,2010, the
                           defendants filed a request to admit facts to establish that the
                           amount in controversy exceeded $75,000, but did not wait for a
                           response before filing the notice of removal.

                           A defendant must employ “a reasonable and commonsense
                           reading” of the complaint to determine removability. RBC
                           Mortgage Comp. v. Couch, 274 F.Supp.2d 965,969 (N.D.IU.2003)
                           (citing McCoy v. CMC, 226 F.Supp.2d 939,941 (N.D.Ill.2002)). A
                           “defendant [is barred from] circumvent[ing] the thirty-daytime
                           limit for removal when it is obvious that a complaint states a       Back to top

                           claim for damages in excess of $75,000, even though it is not
Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 25 of 26 PageID #:25
                           explicitly stated in its ad damnum clause.” Gallo v. Homelite
                           Consumer Prods., 371 F.Supp.2d 943,947 (N.D.IU.2005). Absolute
                           confirmation of the amount in controversy is not necessary
                           where the "plaintiffs allege serious, permanent injuries and
                           significant medical expenses” which exceed $75,000 on the face
                           of the complaint. Fields v. JayHenges Enters., No. 06-323-GPM,
                           2006 WL1875457, at *3 (S.D.Ill. June 30,2006). See also RBC
                           Mortgage Co., 274 F.Supp.2d at 969 (complaints alleging
                           “serious, permanent injuries” are “unambiguous[ly]” ripe for
                           removal because the plaintiff almost certainly will seek more
                           than $75,000) (citation omitted); McCoy, 226 F.Supp.2d at 941
                           (the 30-day removal period under the first sentence of § 1446(b)
                           is triggered when the complaint alleges “serious, permanent
                           injuries and significant medical expenses, [and] it is obvious
                           from the face of the complaint that the plaintiffs' damages
                           exceed [] thejurisdiction[al] amount”).

                           p3 Under this standard, the allegations in the original
                           complaint sufficiently alleged the types of serious, permanent
                           injuries to place the defendants on notice that the plaintiff will
                           “almost certainly” seek more than $75,000 such that the
                           defendants could have removed the complaint. The defendants
                           may not restart the tolling clock by requiring absolute certainty
                           of the amount in controversy. Fields, No. 06-323-GPM, 2006 WL
                           1875457, at *7 (“defendants should never... be able to toll the
                           removal clock indefinitely through reliance on the discovery
                           process to establish jurisdictional prerequisites with absolute
                           certainty”). See also Huntsman Chem. Corp. v. Whitehorse Techs.,
                           No. 97 C 3842,1997 WL 548043, at *5 (N.D.Ill. Sept.2,1997)
                           (citing Mielke v. Allstate Ins. Co., 472 F.Supp. 851,853
                           (D.C.Mich.1979) (“there is no reason to allow a defendant
                           additional time if the presence of grounds for removal are
                           unambiguous in light of the defendant's knowledge and the
                           claims made in the initial complaint”). Because the removal
                           was untimely, the plaintiff's motion to remand the case to state
                           courtis granted.2
                           IV. CONCLUSION
                           For the reasons stated above, the motion to remand the case to
                           the Circuit Court of Cook County [8-1] is granted. The clerk is
                           directed to remand this matter forthwith.



                           All Citations
                           Not Reported in F.Supp.2d, 2010 WL 3273493




                                                                                                Back to top
                                                        Footnotes
                Case: 1:21-cv-03299 Document #: 1 Filed: 06/21/21 Page 26 of 26 PageID #:26
                                                             1        It is difficult to decipher exactly what the defendants' argument is in
                                                                      response to the motion to remand. While on the one hand they cite
                                                                      to caselaw stating that a defendant may remove within 30 days after
                                                                      receiving a copy of an amended pleading from which it may first be
                                                                      ascertained that the case is one which is removable, they also argue
                                                                      that they “technically st/// have not received a pleading, motion,
                                                                      order, or “other paper” to confirm that this case is removable” and
                                                                      thus, “one could argue that this case is not yet ripe for removal.”
                                                                      Response at 2, Dkt. # 12 (emphasis in original). They go on to argue
                                                                      that “[h]owever, because plaintiff has not contested the removal on
                                                                      the amount in controversy issue [and instead challenges only as to
                                                                      timeliness], the Court can reasonably assume that she will seek
                                                                      more than $75,000.” Id. Either way, both of the defendants'
                                                                      arguments fail for the reasons described later in this order.


                                                             2        The plaintiff alternatively argues that the defendants waived their
                                                                      right to remove the case based on their filing of a partial motion to
                                                                      dismiss in state court. Because the court concludes that the removal
                                                                      was untimely, it need not address this alternative basis for remand.




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